Case 20-30968 Document 18-1 Filed in TXSB on 02/13/20 Page 1 of 2




     Exhibit A
                  Case 20-30968 Document 18-1 Filed in TXSB on 02/13/20 Page 2 of 2


WATSON VALVE SERVICES, INC. - EMPLOYEE WAGES

PRE-PETITION (BEFORE 2/6/2020)                                           PAY PERIOD        AMOUNT         PAYROLL DATE
Hourly Employees - Current Employees - Payroll/Benefits/Tax             2/3/20 - 2/5/20       $1,413.00     2/12/2020
Salaried Employees - Current Employees - Payroll/Benefits/Tax           2/1/20 - 2/5/20      $10,130.00     2/14/2020
Benefits - Laid Off Employees - Accrued 2/1/20 (Balance of February)           -             $14,414.40         -
TOTAL                                                                                        $25,957.40

POST-PETITION (2/6/20 THROUGH 2/28/20)                                    PAY PERIOD       AMOUNT         PAYROLL DATE
Hourly Employees - Current Employees - Payroll/Benefits/Tax             2/6/20 - 2/9/20       $1,884.00     2/12/2020
Hourly Employees - Current Employees - Payroll/Benefits/Tax            2/10/20 - 2/16/20      $3,297.00     2/19/2020
Hourly Employees - Current Employees - Payroll/Benefits/Tax            2/17/20 - 2/23/20      $3,297.00     2/26/2020
Hourly Employees - Current Employees - Payroll/Benefits/Tax            2/24/20 - 3/1/20       $3,297.00     3/4/2020
Salaried Employees - Current Employees - Payroll/Benefits/Tax          2/5/20 - 2/15/20      $27,735.00     2/14/2020
Salaried Employees - Current Employees - Payroll/Benefits/Tax          2/16/20 - 2/28/20     $46,225.00     2/28/2020
TOTAL                                                                                        $85,735.00
